   Case: 1:24-cr-00047-MRB Doc #: 31 Filed: 02/28/25 Page: 1 of 9 PAGEID #: 175




                      UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF OHIO
                           WESTERN DIVISION


    UNITED STATES OF AMERICA, :                   CASE NO.: 1:24-CR-00047
                              :
               Plaintiff,     :                   JUDGE BARRETT
                              :
      v.                      :                   SENTENCING MEMORANDUM
                              :                   OF THE UNITED STATES
                              :
    ANTONIO WHITE,            :
                              :
               Defendant.     :

      The defendant, Antonio White, attempted to traffick in firearms, possessed a

machinegun conversion device, and also possessed a firearm in a school zone. The

parties have entered into an A plea agreement. The government recommends a total

sentence of 48 months (42 months followed by 6 months consecutive for the school

zone count). The sentence is sufficient but not greater than necessary to reflect the

seriousness of the offenses, promote just punishment, and afford adequate

deterrence.

                                  BACKGROUND

      The case against White stemmed from an investigation into firearms

traffickers in the Cincinnati area.

      In April 2024, law enforcement officers with the Bureau of Alcohol, Tobacco,

Firearms, and Explosives and the Cincinnati Police Department coordinated multiple

controlled buys of firearms from White. (PSR, ¶ 17) In a span of approximately two

weeks, White engaged in at least six different sales of 8 firearms, including one “ghost
   Case: 1:24-cr-00047-MRB Doc #: 31 Filed: 02/28/25 Page: 2 of 9 PAGEID #: 176




gun” equipped with a machinegun conversion device. (Id.) White believed that these

guns were being taken to Chicago to have their serial numbers obliterated in order

for them to be sold to gang members (Id. at ¶ 18)1 On the date of his arrest, White

possessed a Glock 19 9mm pistol in the vicinity of Dohn Community High School at

133 W 4th St. in Cincinnati. (Id. at ¶ 19). The firearms involved in his transactions

affected interstate commerce. (Id. at ¶ 4).

        On May 9, 2024, an eight-count Indictment was returned against White

charging him with six counts of Attempted Trafficking in Firearms (Counts 1-6),

Illegal Possession of a Machinegun (Count 7), and Possession of a Firearm in a School

Zone (Count 8). (PSR, ¶¶ 1-4). On September 26, 2024, White pled guilty to Count 5,

Count 7, and Count 8 of the Indictment. (Id. at ¶ 8). There are two objections from

the defendant as to the PSR, and the matter is scheduled for sentencing on March 5,

2025.

                                LEGAL STANDARD

        The Sentencing Guidelines “should be the starting point and the initial

benchmark for choosing a defendant’s sentence.” United States v. Demma, 948 F.3d

722, 727 (6th Cir. 2020) (internal quotations omitted). Accordingly, “a district court

should begin all sentencing proceedings by correctly calculating the applicable

Guidelines range.” Gall v. United States, 552 U.S. 38, 49 (2007).




1 3 firearms were purchased before the out-of-state destination and recipients were

made clear to White.
                                              2
   Case: 1:24-cr-00047-MRB Doc #: 31 Filed: 02/28/25 Page: 3 of 9 PAGEID #: 177




      Then, the Court is required to consider the sentencing factors outlined in 18

U.S.C. § 3553(a). These factors include the following:

             (1) the nature and circumstances of the offense and the history
             and characteristics of the defendant;
             (2) the need for the sentence imposed--
                    (A) to reflect the seriousness of the offense, to promote
                    respect for the law, and to provide just punishment for the
                    offense;
                    (B) to afford adequate deterrence to criminal conduct;
                    (C) to protect the public from further crimes of the
                    defendant; and
                    (D) to provide the defendant with needed educational or
                    vocational training, medical care, or other correctional
                    treatment in the most effective manner;
             (3) the kinds of sentences available;
             (4) . . . the sentencing range established . . . [by the Guidelines];
             (5) any pertinent policy statement . . . issued by the Sentencing
             Commission . . . that . . . is in effect on the day of sentencing[;]
             (6) the need to avoid unwarranted sentence disparities among
             defendants with similar records who have been found guilty of
             similar conduct; and
             (7) the need to provide restitution to any victims of the offense.


18 U.S.C. § 3553(a).


      The Court should impose a sentence sufficient but not greater than necessary

to reflect the purposes of sentencing that Congress identified in 18 U.S.C. §

3553(a)(2). See 18 U.S.C. § 3553(a).




                                            3
   Case: 1:24-cr-00047-MRB Doc #: 31 Filed: 02/28/25 Page: 4 of 9 PAGEID #: 178




                                     ARGUMENT

   A. Sentencing Guidelines Calculation

      The United States agrees with the Guidelines range calculated in the PSR,

which gives a Guidelines imprisonment range of 78 - 97 months, based on a total

offense level 28 and criminal history category I.

      The PSR assigns a base offense level of 20 under U.S.S.G. § 2K2.1(a)(4)(B)(i)(II)

and (ii)(II) because the offense involved a firearm described in 26 U.S.C. § 5845(a)

and the defendant was convicted under 18 U.S.C. § 933. (PSR, ¶ 30). The PSR

correctly applies a four-level increase in offense level under U.S.S.G. § 2K2.1(b)(1)(B)

because the offense involved more than eight but less than twenty-four firearms. (Id.

at ¶ 31). The PSR correctly applies a two-level increase in offense level under U.S.S.G.

§ 2K2.1(b)(4)(A) because one firearm that White sold was reported stolen. (Id. at ¶

32). The PSR correctly applies a five-level increase in offense level under

2K2.1(b)(5)(C)(i)(III) because White sold two or more firearms knowing or having

reason to believe that such conduct would result in the receipt of the firearms by an

individual who intended to use or dispose of the firearms unlawfully. (Id. at ¶ 33).

Therefore, White’s adjusted offense level is 31. (Id. at ¶ 37). White receives a three-

point reduction for acceptance of responsibility, resulting in a total offense level of 28.

(Id. at ¶¶ 39-41). White received zero criminal history points, placing him in criminal

history category I. (Id. at ¶ 47.) The resulting Guidelines imprisonment range is 78

to 97 months. (Id. at ¶ 104.)




                                            4
   Case: 1:24-cr-00047-MRB Doc #: 31 Filed: 02/28/25 Page: 5 of 9 PAGEID #: 179




      In terms of the two objections lodged by the defendant, the government agrees

with the PSR’s responses to the objections and reiterates that the PSR properly

calculated White’s Guidelines range. (Addendum).

   B. Analysis of the 18 U.S.C. § 3553(a) Factors

   The government’s recommended sentence of 48 months imprisonment – a

sentence below White’s Guidelines range – is sufficient but not greater than

necessary and is supported by the 18 U.S.C. § 3553(a) factors.

   The nature and circumstances of the offense. The nature and circumstances

of the instant offense support the government’s recommended sentence.

      Simply put, White was trafficking in firearms at an alarming rate and

frequency. In total, White sold 11 firearms, 1 machinegun conversion device, 115

rounds of ammunition, a bulletproof vest, 2 extended pistol magazines, and a 50-

round drum. Most of these items were sold after White understood that these

firearms, ammunition, and attachments were supposedly being transported out-of-

state to have serial numbers obliterated for gang members. Despite the peripheral

prospect of gang involvement, White appeared to be selling the firearms just to make

cash quickly and not for any gang-related reason.

      Certain offense conduct from White was especially problematic. On April 23,

2024, he sold a Polymer P80 9mm pistol with no serial number. That gun also had a

machinegun conversion device, or “switch”, attached to it. The dangerous nature of

such a weapon cannot be overstated, not just for its fully-automatic firing mechanism

but also due to the difficulty of tracing such a weapon.



                                           5
   Case: 1:24-cr-00047-MRB Doc #: 31 Filed: 02/28/25 Page: 6 of 9 PAGEID #: 180




   Additionally, on April 25, 2024, White was found in possession of a Glock 19 9mm

pistol just outside of Dohn Community High School in downtown Cincinnati. Law

enforcement understood that White had the firearm on him while he was inside the

school as well. This Court is fully aware of the ongoing scourge of gun violence in

schools, and White’s conduct put students and staff at an unacceptable risk. The

nature and circumstances of White’s conduct are serious and merit a term of

imprisonment.

   History and characteristics of the defendant. White’s history and

characteristics further support the recommended sentence. White has no adult

criminal history. White is 19 years old and has limited education or vocational

trainings. White appears to have several mental health related issues that have

potentially impacted his learning ability as well. The government’s recommended

sentence, which will allow for treatment while on supervised release, is supported by

White’s conduct but takes into account his personal history and lack of adult criminal

convictions.

   The need for the sentence imposed. The government’s recommended sentence

will also serve the need for the sentence imposed. A 48-month sentence would

promote respect for the law and reflects the seriousness of White’s conduct, especially

in light of the number of firearms he sold and his sale of a ghost gun equipped with a

machinegun conversion device.




                                          6
    Case: 1:24-cr-00047-MRB Doc #: 31 Filed: 02/28/25 Page: 7 of 9 PAGEID #: 181




    Guidelines, unwarranted sentencing disparities, and policy statements.

    The recommended 48-month sentence is below White’s applicable Guidelines

range but takes into account the specific facts and circumstances of White’s case.

Furthermore, the government’s recommended sentence will not result in

unwarranted sentencing disparities. Finally, the government has not identified any

pertinent policy statements that would counsel against a term of imprisonment in

this case.

    According to the United States Sentencing Commission’s Judiciary Sentencing

Information (“JSIN”), in the last five fiscal years, 16 defendants had a primary

guideline of §2K2.1 with a Final Offense Level of 28 and a Criminal History Category

of I. See https://jsin.ussc.gov/analytics/saw.dll?Dashboard (last checked, February 28,

2025). 16 defendants (100%) “received a sentence of imprisonment in whole or in part

[and] the average length of imprisonment was 68 month(s) and the median length of

imprisonment was 60 month(s).” Id. The government’s recommended sentence of 48

months for White falls below the medians, but it takes into account the specific facts

and circumstances of his present case, his personal history, and his criminal history.

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  Case: 1:24-cr-00047-MRB Doc #: 31 Filed: 02/28/25 Page: 8 of 9 PAGEID #: 182




                                 CONCLUSION

      For the foregoing reasons, the United States asks the Court to sentence White

to a sentence of 48 months imprisonment, followed by three years of supervised

release, and the mandatory $300 special assessment.




                                      Respectfully Submitted,

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                                        8
   Case: 1:24-cr-00047-MRB Doc #: 31 Filed: 02/28/25 Page: 9 of 9 PAGEID #: 183




                              CERTIFICATE OF SERVICE

      I hereby certify that a copy of the foregoing has been electronically filed via the

Court’s CM/ECF system this 28th day of February 2025, and has been electronically

served upon all counsel of record.



                                         /s/Ryan A. Keefe
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                                           9
